          Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 1 of 10




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 6   BART MARTINEZ
 7

 8                       UNITED STATES DISTRICT COURT

 9               DISTRICT OF NEVADA-NORTHERN DIVISION

10
     BART MARTINEZ,                           Case No.:
11
                 Plaintiffs,
12                                            COMPLAINT AND DEMAND FOR
           vs.                                JURY TRIAL
13

14   GC SERVICES, LP,                         (Unlawful Debt Collection Practices)
15               Defendants.                  Demand Does Not Exceed $10,000
16

17

18                             PLAINTIFF'S COMPLAINT
19
          Plaintiff, BART MARTINEZ ("Plaintiff'), through PRICE LAW GRO
20
     APC, alleges the following against Defendant, GC SERVICES, LP ("Defendant"):
21

22                                 INTRODUCTION
23
        1. Plaintiffs Complaint is based on the Fair Debt Collection Practices Act, 15
24
           us.c. 1692 et seq. ("FDCPA").
25




                          COMPLAINT AND DEMAND FOR JURY TRlAL
                                          - 1-
       Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 2 of 10




                           JURISDICTION AND VENUE

 2   2. This Court has jurisdiction under 28 U.S.C. §133l and 15 U.S.C. §1692
 3
        FDCPA.
 4
     3. Jurisdiction of this court arises pursuant to 15 U.Sc. 1692k(d}, which states
 5

 6
        that such actions may be brought and heard before "any appropriate United

 7      States district court without regard to the amount in controversy."
 8
     4. Venue and personal jurisdiction in this District are proper becaus
 9
        Defendant does or transacts business within this District, and a materia
10

11      portion of the events at issue occurred in this District.

12                                     PARTIES
13
     5. Plaintiff is a natural person residing in Las Vegas, Clark County, Nevada.
14
     6. Plaintiff is a consumer as that term is defined by 15 U.SC. 1692a(3}.
IS

16   7. Plaintiff allegedly owes a debt as that term is defined by 15 U.S C.
17      1692a(5}.
18
     8. Defendant is a debt collector as that term is defined by 15 U.Sc. 1692a(6}.
19
     9. Within the last year, Defendant attempted to collect a consumer debt from
20

21      Plaintiff.
22
     lO.Defendant is a business entity engaged in the collection of debt within the
23
        State of Nevada.
24

25   11.Defendant is a Delaware Limited Partnership with its headquarters            In




                        COMPLAINT AND DEMAND FOR JURY TRlAL
                                        -2-
       Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 3 of 10




       Houston, Harris County, Texas. See Defendant's Answer, Document No.8,

 2     ~12,   2:13-cv-117I0-MOB-RSW.
 3
     I2.Defendant's business includes, but is not limited to, collecting on unpaid,
 4
        outstanding account balances.
 5

 6
     13.When an unpaid, outstanding account             IS    placed with Defendant it        IS


 7     assigned a file number.
 8
     I4.The principal purpose of Defendant's business is the collection of debts
 9
       allegedly owed to third parties.
10

II   IS.Defendant regularly collects, or attempts to collect, debts allegedly owed to

12     third parties. See Defendant's Answer, Document No. 8,                    ~16,   2:13-cv-
13
        II7I0-MOB-RSW.
14
     I6.During the course of its attempts to collect debts allegedly owed to third
15

16     parties, Defendant sends to alleged debtors bills, statements, and/or other
17      correspondence, via the mail and/or electronic mail, and initiates contact
18
       with alleged debtors via various means of telecommunication, such as by
19
       telephone and facsimile.
20

21   I7.Defendant acted through its agents, employees, officers, members, directors,
22
       heirs,   successors,   assigns,    principals,        trustees,   sureties,   subrogees,
23
        representatives, and insurers.
24

25




                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                           -3-
       Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 4 of 10




                            FACTUAL ALLEGATIONS

 2   I8.Defendant is attempting to collect a consumer debt from Plaintiff.
 3
     19. The alleged debt owed arises from transactions for personal, family, and
 4
        household purposes.
 5

 6
     20.Within in the last year, Defendant was hired to collect the alleged debt.

 7   2I.Defendant called Plaintiff at 702-250-94xx and 702-736-86xx in an attempt
 8
        to collect on the alleged debt.
 9
     22.Within one (1) year of Plaintiff filing this Complaint, Defendant
10

II      communicated with Plaintiff in an attempt to collect the alleged debt.

12   23. Within one (1) year of Plaintiff filing this Complaint, Defendant left
13
        Plaintiff at least two voicemail messages regarding the alleged debt.
14
     24. Within one (1) year of Plaintiff filing this Complaint, Defendant left the
15

16      following voicemail message for Plaintiff, "Hello this message is for Bart

17      Martinez. My name is [inaudible]. [Inaudible]. .. please return my call at
18
        866-391-0768, extension [inaudible]. Thank you."
19
     25. Within one (1) year of Plaintiff filing this Complaint, Defendant also left the
20

21      following voicemail message for Plaintiff, "Hello this message is for Bart
22
        Martinez. My name is Esponetta Washington. I would appreciate you
23
        calling me back. You can reach me at 866-391-0768, extension 5465. Thank
24

25      you."



                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                          -4-
       Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 5 of 10




     26.Defendant's collectors that left the messages transcribed in paragraphs 24

 2      and 25 were working within the scope of their employment when they
 3
        communicated with Plaintiff in an attempt to collect a debt.
 4
     27.Defendant's messages for Plaintiff do not state that the call is from GC
 5

 6
        Services, LP.

 7   28.Defendant's messages for Plaintiff do not state that the collector        IS

 8
        attempting to collect a debt.
 9
     29.Defendant's collectors that left the messages transcribed in paragraphs 24
10

11      and 25 are familiar with the FDCPA.

12   30.Defendant's collectors that left the messages transcribed in paragraphs 24
13
        and 25 know the FDCPA requires debt collectors to identify the company's
14
        name when placing a telephone call.
15

16   31.Defendant's collectors that left the messages transcribed in paragraphs 24
17
        and 25 know the FDCP A requires debt collectors to state that the
18
        communication is an attempt to collect a debt when leaving consumers a
19
        voicemail message.
20

21   32.The telephone number of 866-391-0768 is one of Defendant's telephone
22
        numbers.
23
     33.Defendant maintained a Call Detail Search regarding Plaintiffs Account.
24

25   34.Defendant maintained an Account Detail Listing regarding Plaintiffs



                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                        - 5-
       Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 6 of 10




        Account.

 2   35.Defendant maintains an insurance policy with CNA under which CNA may
 3
        be liable to satisfY all or part of a possible judgment in this action or to
 4
        indemnifY or reimburse for payments made to satisfY the judgment.
 5

 6
     36.Defendant recorded all of its telephone communications with Plaintiff

 7      regarding the Account.
 8
     37.Defendant recorded all of its telephone communications with third parties
 9
        regarding the Account.
10

11   38.Defendant has in its possession audio recordings made in connection with

12      Defendant's efforts to collect the debt at issue in this matter.
13
     39.Paul Grover, Vice President of Client Management Group for Defendant,
14
        has discoverable information regarding the day-to-day business activities
15

16      and functions of Defendant.
17   40. Specifically, Paul Grover has information regarding Defendant's policies
18
        and procedures regarding voicemail messages Defendant leaves for
19
        consumers and for third parties.
20

21   4 1. Additionally,   Paul   Grover has     information    regarding Defendant's
22
        anticipated affirmative defenses.
23
     42.Specifically, Paul Grover has information regarding Defendant's anticipated
24

25
        bona fide error defense.



                          COMPLAINT AND DEMAND FOR JURY TRIAL
                                          -6-
       Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 7 of 10




     43.Per the nationwide PACER records, Defendant has defended approximately

 2      two-hundred (200) lawsuits throughout the nation in the last year prior to
 3
        the date Plaintiff filed this Complaint.
 4
     44. Within one (I) year of Plaintiff filing this Complaint, Defendant has plead a
 5

 6
        Bona Fide Error Affirmative Defense in every Answer it filed in an FDCP A

 7      case.
 8
     45.1n the last three (3) years, Defendant has had over 250 Complaints filed
 9
        against it with the Better Business Bureau.
10

11   46.Defendant has a pattern and practice of not complying with the FDCPA

12      when it leaves voicemail messages for consumers.
13
     47.Defendant did not comply with the FDCPA when it left the plaintiff a
14
        voicemail message in Case Number 2:13-cv-1l710, Darci Ravenscraft v.
15

16      GC Services, LP.
17   48.Defendant did not comply with the FDCPA when it left the plaintiff a
18
        voicemail message in Case Number 2:12-cv-02637, Manrico Lallie v GC
19
        Services, LP.
20

21   49.Defendant did not comply with the FDCPA when it left the plaintiff a
22
        voicemail message in Case Number I: 13-cv-00084, Daniel Lambeth v. GC
23
        Services, LP.
24

25
     50.Defendant did not comply with the FDCPA when it left the plaintiff a



                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                           -7-
             Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 8 of 10




             voicemail message in Case Number 1:13-cv-03570, Mordechai Pinson v.

 2           GC Services, LP.
 3
           51.Defendant did not comply with the FDCPA when it left the plaintiff a
 4
             voicemail message in Case Number 5:13-cv-06093, Lana Babcock v. GC
 5

 6
             Services, LP.

 7         52.Defendant did not comply with the FDCPA when it left the plaintiff a
 8
             voicemail message in Case Number 3:13-cv-00510, Sheila Pratt v. GC
 9
             Services, LP.
10

11         53.Defendant did not comply with the FDCPA when it left the plaintiff a

12           voicemail message in Case Number 4:13-cv-OOI99, Thomas LaUe v. GC
13
             Services, LP.
14
           54.Defendant did not comply with the FDCPA when it left the plaintiff a
15

16           voicemail message in Case Number 4:13-cv-13744, Tamara Travers v. GC
17           Services, LP.
18
           55.Defendant did not comply with the FDCPA when it left the plaintiff a
19
             voicemail message in Case Number 1: 13-cv-00984, David Cruz v. GC
20

21           Services, LP.
22
     III
23
     /II
24

25




                             COMPLAINT AND DEMAND FOR mRY TRIAL
                                            - 8-
        Case 3:13-cv-00518-LRH-WGC Document 1 Filed 09/18/13 Page 9 of 10




                                         COUNT I
 2   DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES
 3                                        ACT
 4
      56.Defendant violated the FDCP A based on the following:
 5

 6           a. Defendant violated § 1692d of the FDCPA by engaging in conduct
 7
                 that the natural consequences of which was to harass, oppress, and
 8
                 abuse Plaintiff in connection with the collection of an alleged debt;
 9

10
              b. Defendant violated § 1692d(6) of the FDCPA by placing telephone

11               calls without meaningful disclosure of the caller's identity when
12
                 Defendant left Plaintiff a message that failed to state that call was
13
                 from GC Services, LP.
14

15           c. Defendant violated §1692e of the FDCPA by using false, deceptive,

16              or misleading representations or means in connection with the
17
                collection of a debt;
18
             d. Defendant violated §1692e(10) of the FDCPA by usmg false
19

20               representation or deceptive means in connection with the collection
21               the alleged debt; and
22
             e. Defendant violated §1692e(11) of the FDCPA when Defendant left
23

24
                 Plaintiff a voicemail message that did not state the communication

25               was an attempt to collect a debt.



                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                        - 9-
08/18/2013    Case
              13:42 3:13-cv-00518-LRH-WGC
                    17027842008           Document
                                             PRICELV 1 Filed 09/18/13 Page 10 of 10
                                                                            #5388 P.002/004




              57. Defendant's acts as described above were done intentionally with th

    2            purpose of coercing Plaintiff to pay the alleged debt.
    3
             . 58.As a result of the foregoing violations of the FDCPA, Defendant is liable t
     4
                 Plaintiff for statutory damages, and costs and attorney's fees.
    5

                 WHEREFORE, Plaintiff, BART MARTINEZ, respectfully request

    7     judgment be entered against Defendant, GC SERVICES, LP, for the following:
    8
              59.Statutory damages of $1,000.00 pursuant to the Fair Debt Collection
    9
                 Practices Act, 15 U.S.C. 1692k;
   10

   11         60.Costs and reasonable attorneys' fees pursuant to the Fair Debt Collection I
   12            Practices Act, 15 U.S.C. 1692k; and
   J3
              61.Any other relief that this Honorable Court deems appropriate.
   14
                                                   RESPECTFULLY SUBMITTED,
   15

   JI,i
             DATED: September 18, 2013               PRICE LAW GROUP APC
   17

   18
                                                         /)
   19
                                                   By:. i. '
   zo                                                      JaniCe E. Smith
                                                           Attorney for Plaintiff
   21

   22

   23

   24

   25




                                 COMPLAINT AND DEMAND FOR JURy TRIAL
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